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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater            *        MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April           *
   20, 2010                                           *        SECTION J
                                                      *
                                                      *
                                                      *        HONORABLE CARL J.
                                                      *        BARBIER
                                                      *
                                                      *        MAGISTRATE JUDGE
                                                      *        SHUSHAN
                                                      *


                        DECLARATION OF JAMES L. HENLEY, JR.

        I, James L. Henley, Jr., submit this declaration in support of BP Defendants’ Motion for

Final Approval of Deepwater Horizon Economic and Property Damages Settlement Agreement

As Amended On May 2, 2012. I am over the age of 18, and the opinions, statements, and

conclusions expressed in this declaration are my own.

                                         INTRODUCTION

        1.      This declaration is based upon my own personal knowledge and reflects my

opinions, analysis, and conclusions, except where otherwise indicated, and if called to testify I

could testify to the opinions set forth in this declaration.


        2.      I am an independent expert retained by counsel for BP Exploration & Production

Inc. and BP America Production Company (collectively, “BP”). I did not assist and was not

involved in any way in the negotiation, drafting, development, or revision of the Deepwater

Horizon Economic and Property Damages Settlement Agreement (the “Settlement” or

“Settlement Agreement”) or the compensation frameworks incorporated in the Settlement

Agreement. Nor have I provided any advice or consultation to BP in connection with its defense
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of the above-captioned lawsuit or any other matter relating to the Deepwater Horizon oil spill

(“DWH Spill”).


        3.      I am a certified public accountant and attorney licensed and in good standing in

Mississippi. Additionally, I have obtained the CFF (Certified in Financial Forensics) designation

from the American Institute of Certified Public Accounting (“AICPA”). In addition to operating

a private practice, I also have served as a United States Chapter 13 Bankruptcy Trustee for the

Southern District of Mississippi since March 2000. I also have served as an expert witness in

connection with business disputes, including those involving business interruption claims and

lost profits.   In connection with my private practice, work as a Bankruptcy Trustee, and

experience as an expert witness, I am familiar with preparation of individual and business tax

returns, bankruptcy filings, business records and accounting, and analysis of damages. A copy of

my curriculum vitae is attached as Exhibit A.


        4.      I am also a pastor at Fresh Start Christian Church in Jackson, Mississippi, a part

of Fresh Start Ministries, Inc. In the wake of Hurricane Katrina, the church established a

charitable fund for the benefit of victims of Hurricane Katrina. I served as administrator of the

fund. In that capacity, I was responsible for developing eligibility criteria and documentation

requirements for applicants for benefits from the fund, and for reviewing applications for

benefits. Applicants had to prove they had come to Jackson, Mississippi from New Orleans or

the Mississippi coast, and in many cases the fund relied on third parties for verification of

eligibility and need. The fund also required proof of identification. In making the determination

whether to grant funds, the fund required documentation and information relevant to determining

the actual need of the applicant. For example, if the family needed assistance in obtaining an

apartment, the fund required a copy of the completed application and direct contact information

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for the leasing agent. Additionally, the fund required the applicant to verify they were not being

assisted by any other agency regarding the housing sought. Finally, the fund made the check

payable to the apartment complex and verified that the applicant would not be reimbursed money

from the complex. If the request was for food, the fund utilized the IRS standards for food costs

by family size and, once the applicant provided documentation to prove family size, the fund

would make appropriate payments for groceries consistent with the IRS standards.1 These were

one-time payments.


        5.       In order to reach my opinions regarding the Settlement Agreement, I considered

the following materials:


                 (a)      The Settlement Agreement, as amended on May 2, 2012, and Appendices

        1A-27, with a focus on those containing the frameworks for business and individual

        economic loss and the Seafood Compensation Program. This includes compensation

        frameworks for general business economic loss claims (Exhibits 4A-E of the Settlement

        Agreement), multi-facility businesses (Exhibit 5 of the Settlement Agreement), failed

        businesses (including failed start-up businesses) (Exhibit 6 of the Settlement Agreement),

        and start-up businesses (Exhibit 7 of the Settlement Agreement), individuals (Exhibit 8A-

        8E of the Settlement Agreement), and the Seafood Compensation Program (Exhibit 10 of

        the Settlement Agreement).


                 (b)      Interim Class Counsel’s and BP’s Joint Supplemental Motion Related to

        the Economic and Property Damages Settlement, filed May 2, 2012.


1
  Such standards are regularly relied upon by Chapter 7 and 13 bankruptcy trustees to evaluate bankruptcy
reorganization plans.


                                                         3
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                  (c)      The Plaintiffs’ Steering Committee’s and BP Defendants’ Joint Motion

          for: (1) Preliminary Approval of Class Action Settlement; (2) Scheduling a Fairness

          Hearing; (3) Approving and Issuing Proposed Class Action Settlement Notice; and (4)

          BP’s Motion for Adjourning the Limitation and Liability Trial, filed April 18, 2012.


                  (d)      The Claim Forms and their instructions and Frequently Asked Questions

          (“FAQ’s”) and answers are available to claimants on the Claims Administrator’s

          website.2


                  (e)      The Court’s Preliminary Approval Order.3


                  (f)      Objections relevant to business and economic loss claims.


                  (g)      The Claims Administrator’s claims statistics, as posted on the settlement

          website.4


                  (h)      Certain independently identified authoritative references, as cited herein.


                GENERAL OBSERVATIONS, CONCLUSIONS, AND OPINIONS


          6.      The methodologies used in the compensation frameworks for Business Economic

Loss (“BEL”) (including the BEL framework and the frameworks for Start-Ups, Failed

Businesses and Multi-Establishment Facilities) and Individual Economic Loss (“IEL”) are

consistent with well-established methodologies for determining economic loss.                    They are

2
    Available at www.deepwaterhorizonsettlement.com
3
 Docket No. 6418, Preliminary Approval Order as to the Proposed Economic and Property Damages Class Action
Settlement, May 2, 2012.
4
    Available at www.deepwaterhorizonsettlement.com


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transparent and objective, relying on mathematical formulas applied to data provided by

claimants.        The methodologies are reasonably designed to provide claimants with full

compensation for earnings lost due to the DWH Spill. Moreover, the application of a Risk

Transfer Premium (RTP) to lost earnings for most claimants, based on their industry and the

geography where they work, further assures that claimants with valid claims will be fully

compensated. As I understand from review of the Motion for Preliminary Approval filed by the

parties and the Settlement Agreement itself, the RTP payments are meant to compensate class

members for potential future loss, as well as pre-judgment interest, any risk of oil returning, and

any claims for consequential damages, inconvenience, aggravation, the lost value of money,

compensation for emotional distress, liquidation of legal disputes about punitive damages, and

other factors, some or all of which may never occur.5 Thus, the methodologies are designed to

make claimants who can establish valid claims fully whole.


           7.      The documentation requirements are logically related to the information required

to evaluate claims, require submission of documentation and information that should be readily

available to claimants, and, in addition, are flexible in permitting documentation alternatives.


           8.      The transparency and objectivity of the frameworks, which rely on expressly-

stated requirements or mathematical formulas, assures that claimants can understand how their

claims can be treated under the frameworks. That will permit claimants to make informed

decisions about whether to participate in the settlement or to opt out. The transparency and

objectivity of the frameworks should assure that claims will receive consistent treatment -- that

is, that similarly situated claimants will receive the same treatment.


5
    See also Settlement Agreement Exhibit 15.


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                                     INDIVIDUAL ECONOMIC LOSS


           9.      The Individual Economic Loss Framework (IEL Framework) is broad and flexible

in addressing a wide variety of differing circumstances for individuals who claim lost earnings

from employment as a result of the DWH Spill. It permits recovery by individuals who worked

prior to the DWH Spill, including those with a single job, those with multiple jobs affected by

the DWH Spill, and those with multiple jobs which were not all affected by the DWH Spill. It

permits recovery by individuals without prior employment experience who had accepted

employment to start after April 20, 2010, that was reduced or cancelled due to the DWH Spill,

and by seasonal and part-time workers.6 It permits recovery by individuals who do not have

income tax or pay period earnings documentation, but can provide other evidence of lost

earnings.7 The IEL Framework also permits recovery by individual periodic vendors and festival

vendors who lost sales due to the DWH Spill.8                     This is a very inclusive settlement for

individuals.


           10.     In my opinion, the framework clearly is more generous all methodologies utilized

by experts in my field to determine actual damages incurred in litigation in that it allows for

speculative damages.          It is also more generous in that the framework actually allows for

compensation for what is termed unreported income (URI) by individuals.9 Unreported income

is income which is earned, but which cannot be traced to the records of an individual or business



6
    See Settlement Agreement Exhibit 8A at 4, 28-43.
7
    See Settlement Agreement Exhibit 8A at 2, 44-51, Categories III and IV of the IEL Framework.
8
    See Settlement Agreement Exhibit 8D, Addendum to IEL Framework.
9
    See Settlement Agreement Exhibit 8A at 2, 44-51, Categories III and IV of the IEL Framework.


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through traditional accounting methods or source documents. I am unaware of economic loss

litigation that allows for compensation of such URI.


           11.     The documentation requirements for the IEL Framework are appropriately

tailored to require the information needed to establish the claimant’s employment history,

earnings and lost earnings. Individuals may provide different types of documents, depending on

what they have available.            Eligible individuals are separated by the Framework into four

categories depending on the documents they are able to provide to establish causation and loss.10

In Category I, claimants have tax documents for 2010 and their Benchmark Period. In Category

II, claimants have no tax documents, but have pay period earnings or other similar

documentation for 2010 and the Benchmark Period. In Category III, claimants have earnings

documentation for 2010 but not prior years, either because they are new entrants to employment

or have recently changed jobs, so that their pre-2010 earnings are not a reasonable predictor of

their 2010 earnings. The documents required for claimants in these categories are documents

that they typically would be expected to have. In Category IV, claimants who lack tax records or

pay period documentation may establish causation and damages without any tax or earnings

records by submitting individual and employer sworn written statements.


           12.     The reasonableness of these documentation requirements is reflected by

comparison to what is required for proof of income in bankruptcy proceedings. Bankruptcy

Code Section 521 requires debtors to provide among other things 1) a copy of their Federal

income tax return or transcript; 2) a schedule of current income and expenditures; 3) copies of all

payment advices or other evidence of payments received within 60 days before the filing of the


10
     See Settlement Agreement Exhibit 8A at 2.


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petition by the debtor from any employer of the debtor; 4) a statement of the amount of monthly

net income, itemized to show how the amount is calculated; and 5) a Statement of Financial

Affairs in which the debtor identifies the source and amount of the prior two years’ earnings.

While the context is different, the Bankruptcy Code requirements reflect a recognition that tax

and payroll documents are the usual and preferred evidence of income.


       13.     Similarly, the documentation requirements for Individual Periodic Vendors and

Festival Vendors require documents that such vendors should reasonably be expected to have

and are logically related to the claim analysis methodology for such claims. As noted, the

provision permitting Category IV claimants who lack tax records or pay period documentation to

establish causation and damages without any tax or earnings records by submitting individual

and employer sworn written statements, is unusually flexible in my experience. The information

sought, including licensure information and earnings history, appears logically related to the

causation and compensation provisions governing such claims.


       14.     The IEL Framework applies a well-established approach for analyzing lost

earnings that is similar to the approach I and others use in determining lost earnings in litigation.

Under a typical (or standard) approach, the individual’s historical earnings are determined based

on a review of the prior earning history. Documents evidencing earning history typically include

W-2 wage statements, social security statements and federal tax returns filed under penalty of

perjury by the Plaintiff.    The typical model for determining the loss generally considers:

earnings in a base-year period prior to the loss; and the income growth rate between the base

year and the compensation period to project anticipated earnings in the compensation period

when the loss was alleged to have occurred. The projected earnings are compared to the amount

actually earned during the compensation period to determine the compensable loss. A claimant

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may also receive compensation for demonstrable lost fringe benefits. The compensable loss

amount calculated in this fashion is reduced by any offsets for any mitigation (loss compensation

payments already received). This methodology is captured in AICPA Practice Aid 06-4 dealing

with the calculation of Loss Profits.


           15.      The IEL Framework applies this approach. For most individual claimants, their

actual earnings during their claimant-selected Compensation Period of 90 or more consecutive

days between April 21, 2010 - December 30, 2010, from a “claiming job” that the claimant

asserts was affected by the DWH Spill, are compared to the earnings that the claimant would

have expected to earn during that period but for the DWH Spill.11 The expected “but for”

earnings are determined through comparison of the actual earnings to the same 90-or-more-

consecutive-day Benchmark Period during claimant-selected Base Year(s), including

adjustments to make the comparison a fair one. For example, the “but for” earnings projection

includes a growth factor adjustment to account for expected wage increases from the Benchmark

Period to the Compensation Period.12 Similarly, the analysis also takes into account the number

of hours worked during the two periods, so that if a claimant maintained his earnings level

during the Compensation Period only by working more hours to make up for reduced hourly

wages, those extra wages earned during his reduced free time do not reduce his recovery.13 For a

“career changer” whose prior employment is not comparable to their employment during the

Compensation Period, or for a first time employee, the IEL Framework uses as a Benchmark




11
     See Settlement Agreement Exhibit 8A at 14-18, 23-27, 37-43.
12
     See Settlement Agreement Exhibit 8A at 5-6, 15, 24, 39-40.
13
     See Settlement Agreement Exhibit 8A at 6-7.


                                                          9
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Period a comparable period in 2011, after the Compensation Period, or other evidence of

expected wages during the Compensation Period.14


           16.      The IEL Framework contains numerous provisions that clearly are designed to

give claimants a fair opportunity to show they lost income because of the DWH Spill and, for

claimants who can make such a showing, to maximize their recovery.                          These include the

following:


                    (a)     For many categories of claimants the IEL Framework presumes

           causation.15 Thus, such claimants need not prove causation at all, and all of their

           demonstrated losses will be attributed to the DWH Spill. Moreover, even for claimants

           who must establish causation (and who have several options for doing so), once they

           have done so, all losses are attributed to the Spill.


                    (b)     In taking account of growth in projecting “but for” earnings, the IEL

           Framework has several features that favor claimants. First, claimants who can provide

           pay period documentation establishing earnings growth during the period January to

           April 2010 compared to the same period in the Base Year can obtain the benefit of such

           growth in the calculation (up to a maximum of 10%).16 Second, the use of a presumed

           general growth factor for claimants in Categories I and II is inherently favorable, given


14
     See Settlement Agreement Exhibit 8A at 39-40.
15
  Causation is presumed for claimants who worked for an employer located in Zone A; worked for a tourism
business located in Zone A or B; worked for a primary seafood industry business (as defined in the Settlement
Agreement) in Zones A, B, C, or D; worked for a secondary seafood industry business (as defined in the Settlement
Agreement) in Zones A, B, or C; or worked for a charter fishing business in Zones A, B, or C. See Settlement
Agreement Exhibit 8A at 13, 21-22, 32-33.
16
     See Settlement Agreement Exhibit 8A at 5-6, Definition N.


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           high unemployment in many parts of the region in 2011.17 Similarly, the operation of the

           growth factors to preclude negative growth for most claimants whose earnings

           demonstrated negative growth is highly favorable to claimants.18


                    (c)     The Framework provides (most) individual claimants with the flexibility

           to choose the Base Year(s) and a Compensation Period to maximize their recovery.

           Claimants with prior comparable employment as shown by tax or pay period

           documentation can select 2009, the average of 2008 and 2009, or the average of 2007,

           2008 and 2009 as their Base Year(s).19 This allows them to identify the Base Year(s) that

           they believe is truly most representative of their prior earnings and/or will maximize their

           recovery. Similarly, claimants in Categories I, II and III can select their Compensation

           Period of 90 days or more, provided that it coincides with pay periods’ beginning and end

           dates (which is a reasonable requirement for administrative manageability).20


                    (d)     Section 4.4.13 of the Settlement Agreement provides that claimants may

           be reimbursed for reasonable and necessary accounting fees relating to claims

           preparation. By encouraging claimants to obtain accounting assistance, this provision

           increases the likelihood that claimants will submit properly documented claims and be

           able to make the Base Year and Compensation Period choices most favorable to them.



17
     See id.
18
     See id.
19
     See Settlement Agreement Exhibit 8A at 3, Definition B.
20
  Category IV claimants who lack such contemporaneous documentation are limited to using 2009 as a Base Year
and their Compensation Period is the entire period April 20, 2010 - December 31, 2010. These limitations are
reasonable given the lack of documentation.


                                                         11
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                   (e)     Section 4.3.8 of the Settlement Agreement provides further assurance that

           claimants will benefit from the choices they are given with respect to selecting a Base

           Year and Compensation Period. It provides that the Claims Administrator must evaluate

           the information submitted by the claimant to produce the greatest Economic Damage

           Compensation Amount that the Framework allows given the facts of the claimant’s case.

           Thus, even if the claimant fails to select the optimal Base Year and Compensation Period,

           the Claims Administrator is required to do that for the claimant to maximize his recovery.

           In my experience this type of requirement that the claims administrator go beyond merely

           processing a claim to produce the best possible result is unprecedented. Indeed, it is a

           more favorable standard than exists in litigation, where litigants’ recoveries are generally

           limited to the claims they make and prove.


                   (f)     The application of a Risk Transfer Premium (RTP) to lost earnings for

           most claimants, based on their industry and the geography where they work, further

           assures that claimants with valid claims will be fully compensated.21 The RTP

           compensates claimants for, among other things, the possible risk of future loss -- which

           may never occur. In the few instances where RTP is not provided, those omissions

           appear reasonable either because the claimant has not established the likelihood of future

           employment at the claiming job (and, therefore, that he/she is at any risk of additional or

           future loss) or because the documentation of lost earnings is very limited.


                   (g)     The One Time Loss Addendum to the IEL Framework for individuals in

           Categories I-III similarly reflects an effort to assure that claimants are made whole for


21
     See Settlement Agreement § 38.126.


                                                    12
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           DWH Spill-related lost earnings.22 This provision addresses the circumstance where a

           claimant lost earnings in 2010 due to the loss of an opportunity for earnings from an

           extraordinary “One Time, Non-Recurring Event” that did not occur in prior years. In

           such circumstances the Benchmark Period earnings would not reflect earnings from such

           an event, and use of those earnings to project expected “but for” post-DWH Spill 2010

           earnings would understate those earnings and the claimant’s loss. The one-time, non-

           recurring loss provision avoids this result by permitting the claimant to establish such a

           one-time, non-recurring loss. The requirements of the provision are logical and

           reasonably designed to ensure that the claimed one-time loss is truly an unusual “One

           Time, Non-Recurring Event” that would not already be reflected in prior period earnings.


                    (h)     The IEL Framework also provides for recovery by individuals in

           Categories I-III of additional amounts necessary to make them whole. These include

           reimbursable job search costs, reimbursable training costs (for training that resulted in

           employment),23 and compensation for lost benefits, including health insurance and

           retirement/pension benefits.24 The criteria for these additional elements of recovery seem

           reasonably designed to permit recovery for demonstrated employment-related expenses

           or lost benefits due to the loss of employment or earnings.


           17.      The IEL Framework also includes other provisions that are particularly generous

in my experience. For example, Category III of the IEL Framework provides for compensation

of individuals who were offered and accepted employment that was subsequently revoked, even
22
     See Settlement Agreement Exhibit 8A at 52.
23
     See Settlement Agreement Exhibit 8A at 18, 26-27, 43.
24
     See Settlement Agreement Exhibit 8C.


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if they have not worked since then because family obligations, a medical condition, or a return to

school precluded such work. This approach takes account of claimants’ circumstances and, in

effect, gives the “benefit of the doubt” to claimants facing family obligations or medical

challenges.25


           18.     The IEL Framework is similarly generous in allowing Category IV claimants who

do not have tax returns or pay period documentation to establish lost earnings by providing

sworn individual and employer written statements.26 This means that even individuals who lack

tax returns or pay period documents because they earned so little that they were not required to

file returns, or because they were working “off the books,” can potentially recover URI under the

Settlement Agreement. I am unaware of any other settlement or compensation system that

permits recovery for lost earnings without tax returns or pay period documents based only on

sworn written statements, but the use of third parties to corroborate claimed income is a

reasonable method of verification. For example, in my church’s granting of Katrina relief funds,

the fund required third party verification to ensure that applicants were eligible and were for

example, renting an apartment at a given complex, in order to avoid paying fraudulent claims.

Given that the absence of contemporaneous tax or pay period documentation creates at least

some heightened risk of fraud, which is inherent in any payment program, it also is reasonable to

cap compensation at $20,000 -- particularly, where, as here, such claimants may still receive an

RTP of 1.




25
     See Settlement Agreement Exhibit 8A at 28-43.
26
     See Settlement Agreement Exhibit 8A at 44-51.


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            19.    The provisions permitting recovery by Individual Periodic Vendors and Festival

Vendors are similarly favorable to claimants.27 Such claimants are technically self-employed

and, under the tax laws, should normally be expected to file tax returns reflecting such self-

employment income on a Schedule C attached to their Federal 1040. The IEL Framework,

however, permits such individuals to provide alternative documentation of their losses even if

they have not filed such returns (for any reason). Once again, this flexibility in the framework

benefits potential claimants, using an approach that permits them to demonstrate and recover for

losses, even if they do not appear to be not in strict compliance with applicable tax requirements.


           20.     The Seafood Crew Compensation Plan For Individuals is similar in several

respects to the IEL Framework which I have concluded appears reasonable, adequate, and fair to

claimants.28


                   (a)      Like the IEL Framework, the Seafood Crew Plan categorizes claimants by

           the type and quality of earnings documentation they can provide.29


                   (b)      The definitions of Tax Information Documents or Pay Period Earnings

           Documentation that a claimant may use to establish historical earnings are essentially

           identical between the two frameworks and include documents that are reasonably related

           to establishing earnings and that are likely to be possessed by claimants.30



27
     See Settlement Agreement Exhibit 8D.
28
     See Settlement Agreement Exhibit 10 at 65-84, Seafood Crew Plan.
29
     Compare Settlement Agreement Exhibit 8A at 2 with Settlement Agreement Exhibit 10 at 65.
30
     Compare Settlement Agreement Exhibit 8A, Categories I and II with Settlement Agreement Exhibit 10, Seafood
      Crew Plan, Category I.


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                   (c)     Like the IEL Framework, the Seafood Crew Plan uses earnings in a

           Claiming Job in a Base Year as the basis for determining compensation for lost earnings

           in 2010 after the DWH Spill. Claimants in Seafood Crew Category I, which requires

           documentation comparable to Individual claimants in Categories I and II, similarly may

           choose as their Base Year(s) 2009, the average of 2008 and 2009 or the average of 2007,

           2008 and 2009.


                   (d)     Like the IEL Framework, the Seafood Crew Plan contains a provision that

           is favorable to claimants because it permits claimants who lack Tax Information

           Documents or Pay Period Documentation to establish earnings history in 2009, or

           anticipated earnings from a job they were offered and accepted in 2010, with a claimant

           Sworn Written Statement and an employer Sworn Written Statement.31 As I observed in

           regard to the similar provision under the IEL Framework, a provision permitting recovery

           for undocumented income is unusual in my experience. Under both the IEL Framework

           and the Seafood Crew Plan, the claimant may be subject to an interview for verification

           of information and is limited to using 2009 as the Base Year. Under both the IEL

           Framework (except for certain limited exceptions (i.e., Category IV)) and the Seafood

           Crew Plan, there is a cap on compensation. These requirements and restrictions on

           compensation and appeal rights are reasonable protections against fraud given the

           absence of contemporaneous employment documentation.




31
     Compare Settlement Agreement Exhibit 8A, IEL Framework, Category IV with Settlement Agreement Exhibit 10,
      Seafood Crew Plan, Category II.


                                                       16
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                   (e)      Finally, the RTPs of 2.25 for Seafood Crew in Categories I and II are

           comparable to the RTPs available under the IEL Framework for most Primary Seafood

           Processors, Secondary Seafood Processors and Landing Sites.


           21.     The Seafood Crew Plan goes even farther than the IEL Framework in permitting

claimants without documentation of historical earnings to recover. Category III of the Seafood

Crew Plan permits a claimant without Tax Information Documents or Pay Period Earnings

Documentation, and who cannot obtain an employer Sworn Written Statement, to recover

nonetheless if he can provide Sponsor Sworn Written Statements from individuals other than

close family members and, if applicable, an Attorney Sworn Written Statement.32                 In my

experience, I have not previously seen a benefit or claim plan that permits a claimant to recover

for lost wages with such limited supporting information; this is an extraordinarily favorable

provision for claimants. The required documentation of the claimant’s employability and the

requirements for the contents of the claimant, Sponsor and Attorney Sworn Written Statements

all seem logically related to establishing the claimant’s employability and actual employment

history on which he bases his claim. The provisions that the claimant may be subject to an

interview for verification of information and is limited to using 2009 as the Base Year, that there

is a cap on compensation, and that there are no appeal rights, all appear to be reasonable

protections against fraud given the absence of contemporaneous employment documentation or

even an employer Sworn Written Statement.




32
     See Settlement Agreement Exhibit 10.


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            22.     All in all, the Seafood Crew Compensation Plan is a reasonable, and indeed

claimant-friendly process for a claimant to establish lost seafood crew wages due to the DWH

Spill and to recover for that loss.


                                       BUSINESS ECONOMIC LOSS


           23.      The documentation requirements for BEL claims (including Start-Up and Failed

Business Claims) are reasonable and provide flexibility that is favorable to claimants. The

required documents are logically and directly relevant to analyzing causation and compensation

under the frameworks. Moreover, the documentation requirements will not unreasonably burden

valid claimants. The required documents are those claimants would either keep in the ordinary

course of business or may readily prepare from records that would be kept in the ordinary course

of business. Claimants’ ability to use contemporaneously maintained records to prepare required

financial statement schedules that may not have been prepared in the ordinary course of

business33, and the availability of reimbursement for accounting services necessarily incurred to

prepare documentation or complete the claim form (see Settlement Agreement § 4.4.13), assure

that documentation requirements will not pose a barrier to valid claims.


           24.      The causation requirements of the BEL Framework appear more than reasonable.

For businesses in Zone A or in certain industries in Zones B and C or Primary Seafood

Processors in Zone D, there is a presumption of causation, which will inevitably include

businesses that were not economically or financially affected by the DWH Spill.34 This alone is

an unusually generous feature and atypical, in my experience, in economic loss cases. For those
33
     See, e.g., Settlement Agreement at § 38.38, definition of “contemporaneous”; Settlement Agreement Exhibit 4A
       ¶ 4; Settlement Agreement Exhibit 5 at § IV.2.
34
     See Settlement Agreement Exhibit 4B at 1


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businesses that do not qualify for a presumption of causation, there are multiple tests under

which they can qualify and establish causation.35 This variety of test options gives claimants

multiple ways to establish causation, which appears to be more than fair.


           25.     Moreover, the causation tests reflect reasonable expectations about the economic

harm the DWH Spill could have caused to a business, and therefore are appropriate tests for the

purpose of establishing causation. The “V tests” require that a business demonstrate a loss after

the DWH Spill and a subsequent recovery. Based on my experience analyzing economic loss

litigation cases, it is reasonable to expect a recovery at some point after a demonstrated loss

where the circumstances claimed to have caused the loss have changed. The tests reflect this

reasonable expectation. Moreover, the tests contain exceptions where it is reasonable to expect

that other factors may have prevented a recovery, such as entrant of a new competitor or

construction preventing customer access.


           26.     Like the IEL Framework, the BEL Framework uses the well-recognized approach

of measuring lost earnings or profits by comparison of the post-DWH Spill Compensation Period

to a Benchmark Period. One specific example of this would be the National Pollution Funds

Center’s methodology for recovering claims for Lost Profits and Earnings Capacity due to an oil

spill. (See www.uscg.mil/npfc/claims/damages_lost_profits.asp#top). To prove lost profits the

claimant must show among other things: 1) that income was reduced; 2) the amount of profits

and earnings during similar periods (BENCHMARKS); and 3) how much income was received

from alternative business (for example, VoO payments).




35
     See Settlement Agreement Exhibit 4B at 1-10.


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           27.      The BEL Framework’s measurement of lost profits by reference to differences in

variable profit between Benchmark and Compensation Periods is reasonable and consistent with

the general approach used in business economic loss cases. Variable profit is a widely-accepted,

traditional metric for measuring business performance and profitability.36


           28.      The BEL Framework’s classification of expenses as “fixed” or “variable” is

reasonable.37 Many categories of business expenses have both fixed and variable elements. It is

reasonable for ease of administration and consistency of treatment to categorize expenses as

fixed or variable. The categorizations are sensible based on my knowledge of the nature of these

types of expenses.


           29.      Indeed, if anything, the categorizations -- and, therefore, the compensation

formula that relies on them -- favor claimants, because certain costs categorized as “fixed” also

can be variable. For example, rent is categorized as “fixed,” even though a business facing a

decline in revenues might seek to abate or reduce its rent. Under the BEL Framework, to the

extent a claimant actually received abated rent and reduced its expenses, that reduction of a

“fixed” cost would not be reflected in the compensation calculation and would not reduce the

size of the claimant’s claim and the compensation amount paid. Put differently, the claimant

would recover for the “loss” attributed to rent payments, even though in fact he managed to

avoid the loss (or some part of it) by obtaining a rent holiday or reduction. Additionally based

on my experiences dealing with multiple businesses over the years, expenses such as Auto,

Cleaning and Housekeeping, Security, Supplies and Utilities – all of which are classified as fixed


36
     See, e.g., AICPA Financial Valuation Services Practice Aid 06-4 – Calculating Lost Profits.
37
     See Settlement Agreement Exhibit 4D.


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– should have decreased; however, these costs, even if avoided, would not be taken into

consideration to decrease the recovery by a claimant. In such a circumstance, this benefit is

magnified by the RTP multiplier.


           30.     The BEL compensation methodology is reasonable and flexible in several ways

that benefit claimants.


                   (a)      Claimants may select one of three Benchmark Period years (2009, average

           2008-09, average 2007-09).38 This allows a claimant to select the most favorable period

           for comparison. It takes into account specific facts and circumstances of the business’

           performance. It also takes into account the possibility that 2009, a recession year, may

           not be a typical benchmark. If that is the case for a claimant, the business is permitted to

           choose a different Benchmark Period that averages 2009 with 2008 or 2007 and 2008. At

           the same time, if 2007 and/or 2008 were not particularly good years for the business but

           2009 was an unusually good year, the business has the option of using only 2009 for its

           Benchmark Period and therefore increasing its compensation. In my experience, if

           claimants were to litigate, the period used for the benchmark period would be fiercely

           disputed and the claimant would be unlikely to end up with the most beneficial period. In

           fact, it would be unreasonable to allow the claimant to “cherry pick” the period in

           litigation. Historical data would be utilized to establish a base amount or benchmark to

           reflect both good and bad periods. Under the BEL Framework, the settlement gives

           claimants whatever Benchmark Period is best for their individual circumstances among

           the three options.


38
     See Settlement Agreement Exhibit 4C at 1-2.


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                   (b)      In addition to having a choice as to Benchmark Period years, claimants

           also get to choose their Compensation Period of three or more consecutive months.39

           This additional element of choice also provides flexibility and the ability to take into

           account the specific facts and circumstances of their business. The three month minimum

           period is a reasonable requirement because it eliminates the risk that normal month-to-

           month variations in business performance are not mistaken for a trend of declining

           performance due to the DWH Spill.


                   (c)      Moreover, the provision of the Framework that a claimant may select

           Compensation Period months different than the months used to establish causation also is

           favorable to claimants and potentially increases the compensation they can receive.40

           Typically, a claimant’s compensation is calculated based on the period during which the

           claimant establishes that the defendant’s conduct caused damage. Permitting claimants

           the flexibility to choose a different three or more month period for compensation and

           causation maximizes their ability to establish causation and the amount of compensation

           received.


                   (d)      The BEL Framework employs a growth factor methodology that also is

           favorable to claimants.


                            (i)      First, the use of a growth factor assures claimants will be made

                   whole. That is, rather than assuming that a business would have performed

                   identically in 2010 compared to the prior claimant-selected benchmark years “but
39
     See Settlement Agreement Exhibit 4C at 1.
40
  See Settlement Agreement Exhibits 4B and 4C, Addendum to Causation Requirements for Business Economic
Loss Claims and Compensation Framework for Business Economic Loss Claims.


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                   for” the DWH Spill, the methodology takes account of the possibility that the

                   business might have experienced growth in 2010 compared to prior years and

                   compensates for lost or diminished growth in variable profit.41


                            (ii)     Second, the Framework includes certain assumptions about growth

                   that are favorable to claimants. The use of a presumed growth factor of 2%

                   means that even claimants whose economic performance in the pre-DWH Spill

                   period of January-April 2009 compared to the comparable pre-DWH Spill period

                   of January-April 2010 indicates that their business was not growing -- or, indeed,

                   was declining -- prior to the DWH Spill will get the benefit of a growth factor.42

                   Thus, a business that actually was experiencing negative growth prior to the

                   DWH Spill will not have its compensation reduced to account for that negative

                   growth. Moreover, the presumed 2% growth factor means that for businesses that

                   grew less than 2%, or which declined, their growth factor used in the

                   compensation will reflect greater growth than they actually experienced in the

                   January-April period (up to a 10% cap).


                            (iii)    Third, the Framework provides that the growth factor is applied to

                   a period of no less than 6 months, even if the claimant-selected Compensation

                   Period is shorter than that.43 This unusual but beneficial feature will increase

                   compensation for some claimants who pick Compensation Periods of less than



41
     See Settlement Agreement Exhibit 4C at 2-4.
42
     See Settlement Agreement Exhibit 4C at 2.
43
     See Settlement Agreement Exhibit 4C at 4.


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              three months by providing them compensation for lost growth even in months

              where the claimant has not alleged losses due to the DWH Spill.


              (e)     As with claims under the IEL Framework, claims under the BEL

       Framework are covered by Section 4.4.13 of the Settlement Agreement, which provides

       that claimants may be reimbursed for reasonable and necessary accounting fees relating

       to claims preparation. By encouraging claimants to obtain accounting assistance, this

       provision increases the likelihood that claimants will submit properly documented claims

       and be able to make the Benchmark Year and Compensation Period choices most

       favorable to them.


              (f)     Similarly, BEL claims are subject to the requirement of Settlement

       Agreement § 4.3.8 that the Claims Administration process must process the information

       provided in the Claim Form to provide a BEL claimant with the greatest economic

       damage compensation amount. Under this provision, even if the claimant does not select

       the most advantageous Benchmark Period or Compensation Period, the Claims

       Administration process is required to analyze and process the claim in a way that does

       pick the periods most advantageous to the claimant. In my experience, this provision is

       unique: I am not aware of any other claims process that provides this protection to

       business economic loss claimants. This is significant in that it seeks to provide for the

       maximum recovery by claimants regardless of whether their own analysis or choices

       require a lower payout.


       31.    The BEL compensation methodology is reasonably designed to make claimants

whole for their losses. In addition to compensation for lost profits during the Compensation


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Period, as explained above, including a growth factor, claimants also receive an RTP multiplier

that compensates them for, among other things, any potential risk of future losses (which may or

may not occur).44


           32.     Claimants who qualify for compensation but have already received some DWH

Spill-related compensation through other mechanisms (e.g., the GCCF), benefit from the

framework’s method of subtracting such prior payments.45 The prior payments are subtracted

after the addition of the RTP rather than before the RTP multiple is applied. This approach

means that the RTP multiplier, which compensates for potential future damages, assumes no

offsetting variable profit that might mitigate such future damages if they ever occurred. This a

generous approach, because it provides compensation for future losses that might (or might not)

occur, while not subtracting amounts for mitigation that might also occur if the future losses

were to occur. .


           33.     The Multi-facility Business Framework benefits claimants by providing them

with flexibility. Businesses with multiple facilities all located in the Gulf Coast Areas have a

choice of filing a claim for the entire business or filing separately for each facility.46 This

permits businesses that experienced losses in some but not all facilities to file claims for the

facilities that experienced losses, even where the business as a whole did not suffer a loss.

Similarly, it permits multi-facility businesses with facilities outside the Gulf Coast Areas to file

claims for facilities within the Gulf Coast Areas. The documentation requirements, which

require a business filing separate claims for each facility to provide stand-alone financial
44
     See Settlement Agreement § 38.126 and Exhibit 4C at 5.
45
     See Settlement Agreement Exhibit 4C at 5.
46
     See Settlement Agreement Exhibit 5.


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statements for each facility, seek information logically required for analysis under the

framework. Moreover, the provision permitting claimants to construct such stand-alone financial

statements based on contemporaneously-maintained books and records means that even

claimants who did not need to prepare contemporaneous monthly financial statements may take

advantage of this framework if they maintained appropriate contemporaneous business records.47

The availability of accounting fee reimbursement can also be expected to encourage multi-

facility business claimants to take advantage of this option. The requirement that business-wide

costs be allocated among facilities based on each facility’s share of revenues is reasonable and

consistent with established practice.


           34.      The Failed Business Framework provides a reasonable methodology for

evaluating and compensating claims by failed businesses and failed start-up businesses.48 The

formula--last 12 months’ EBITDA multiplied by an empirical industry multiple minus realized

liquidation value--is a widely-recognized measure of damages for failed businesses. The “Pratt’s

Stats” that are used as the source for an industry multiple are widely recognized as the standard

source for such multiples.49 Indeed, the Failed Business Framework is more generous than the

typical methodology for evaluating failed start-up business claims because it includes a

methodology permitting a failed start-up business claimant to recover for uncompensated “sweat

equity” labor performed in connection with the business.50 It is also more generous because to

the extent the business was not even a viable business at the time of the DWH Spill, the


47
     See Settlement Agreement Exhibit 5 at 3.
48
     See Settlement Agreement Exhibit 6.
49
     See Settlement Agreement Exhibit 6 at 10.
50
     See Settlement Agreement Exhibit 6 at 6-9.


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framework assumes that its failure was a result of the DWH Spill (depending on geographic zone

of the business), unless one of the exclusion criteria in Section 3 of the Failed Business

Framework were to apply. This is the case even where there might be indicators of imminent

business failure prior to the DWH Spill. For example, in litigation, the failed business would be

forced to prove its demise was not already imminent. Cash flow analysis, sales trends and

increased competition in the market over a period of time would be analyzed to show whether or

not the business was indeed a viable going concern prior to the DWH Spill. The lack of an RTP

multiplier for a failed business claim is reasonable, given that there is no continuing or future

loss because claimants are being compensated for the total pre-DWH Spill value of the business.


           35.      The Framework for Start-Up Business Claims provides a reasonable methodology

for evaluating and compensating claims by a start-up business.51 The definition of a start-up

business with limited history is reasonable, as are the options provided to the claimant for the

Benchmark against which the 2010 Compensation Period earnings are to be compared. Given

the limited history of the business, the first option, which uses the 2011 period as the Benchmark

Period to be compared to the 2010 Compensation Period, is sensible. Similarly, the alternative

option, under which the claimant may rely on projections for the 2010 Compensation Period that

were used by a third-party lender,52 is reasonable: this option provides the claimant with

flexibility while at the same time providing some assurance (through the third-party lender

requirement) that the projections were reasonable.53 Reliance on an independent third-party’s




51
     See Settlement Agreement Exhibit 7.
52
     See Settlement Agreement Exhibit 7 at 8-9.
53
     See Settlement Agreement Exhibit 7 at 8-9.


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use of projections 1s a recognized method of corroborating the reasonableness of such

projections.


       36.     In summary, in my opmwn the methodologies provided in the Settlement

Agreement for compensating business economic loss claims (including for multi-facility, failed

business, failed start-up business, and start-up claimants) and individual economic loss claims

(including for seafood crew under the Seafood Compensation Program) are reasonable, adequate,

and indeed, generous.        The basic approaches are well-recognized.           The documentation

requirem~nts   for individuals, including seafood crew, are significantly more liberal than is

typical. The presumptions of causation that apply to many businesses and individuals in zones

closest to the DWH Spill is unusually generous in eliminating what is normally a significant

proof requirement to recover in litigation for lost revenue or wages. And the compensation

methodologies, including R TP for most claimants, are generous in compensating claimants for

all losses they can prove and even for potential future losses that may never occur. In sum, the

compensation methodologies are fair, reasonable, and adequate from my perspective and in my

expenence.


       37.     I declare under penalty of perjury that the foregoing is a true and correct statement

of my opinions and analysis.


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                 Henley Declaration
                     Exhibit A
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                      James L. Henley, Jr., J.D., CPA, CFF
           (Certified Public Accountant – Certified in Financial Forensics)
                                    P.O. Box 31464
                            Jackson Mississippi 39286-1464
                                     601-519-7873


EDUCATION:

     Doctor of Jurisprudence with Special Distinction, Mississippi College School of Law
     May 14, 1994
     B.B.A. Accounting, Millsaps College, May 1983
     C.P.A. License 3098 - April 26, 1985
     Mississippi State Bar License 9909 – September 2004

LAW EMPLOYMENT HISTORY:

     The Law Office of James L Henley, Jr.
     P.O. Box 31464
     Jackson, Mississippi 39286-1464
     December 20, 1995 - Present

     Butler, Snow, O’Mara, Stevens & Cannada, PLLC
     Deposit Guaranty P1aza
     Jackson, Mississippi 39201
     August 16, 1994 - December 19, 1995

FINANCIAL EMPLOYMENT HISTORY:

     Currently: Chapter 13 Trustee, U.S. District for the Southern District of Mississippi
     Appointment Effective: March 1, 2000
     Administrator of Chapter 13 Bankruptcy filings in the United States Bankruptcy
     Court for the Southern District of Mississippi. Analysis of financial condition of
     Chapter 13 Plaintiffs.
     March 2000 - Present

     Currently: Henley & Company, CPA’s
     P.O. Box 31464, Jackson, MS 39286-1464
     Position: Partner
     Work Experience: Tax and business consultation, review, compilations and analysis


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     of various business areas of clients. Clients include HMO’s medical clinics,
     physicians, pharmacists, podiatrist, dentists, attorneys, and musicians.
     December 1991 - Present

     Department of Justice — Office of United States Trustee
     100 W. Capitol Street, Suite 706, Jackson, M5 39269
     Position: Bankruptcy Analyst
     Work Experience: Examination/analysis of financial information, disclosure
     statements and plans in Chapter 11 cases. Supervision and monitoring of
     performance of Chapter 7 and 13 trustees via report reviews and on site reviews.
     November 1989 – May 1992

     Performance Evaluation Expenditure Review Committee
     Joint Legislaative Investigative Committee
     P.O. Box 1204, Jackson, MS 39205
     Position: Senior Analyst
     Work Experience: Investigation, analysis and write-up of various governmental
     entities who received funding from State of Mississippi. Supervision of staff on
     projects. Revenue and cost projections of proposed legislation.
     May 1988 – October 1989

     Arthur Anderson & Co., CPA’s
     201 St. Charles Ave, Suite 4500, New Orleans, LA 70170
     Position: Semi-Senior, Audit Division
     Work Experience: Audits, reviews and compilations of various industries. Primary
     areas were (1) Financial Institution audits and, (2) Southern Baptist Hospital audit
     and review of compliance with construction bond requirements as they related to
     cost reimbursements.
     May 1983 – August 1985

OTHER EMPLOYMENT HISTORY:

     IBM
     Grand Rapids, Michigan
     Position: Systems Analyst
     Work Experience: Analysis and review of various industry financial accounting
     systems. Development and implementation of software solutions to assist
     management in the evaluation of economic results related to financial operations.
     Development and presentation of financial solutions. Development and
     implementation of system conversions.
     August 1985 – August 1987

     Jackson State University — Adjunct Instructor of Entrepreneurship, Business Law
     and Collective Bargaining.

     Tougaloo College — Adjunct Instructor of Accounting Principles, Advanced
     Accounting and Auditing.




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     Jackson Public Schools — Adult Learning Instructor of Introduction to Computers
     and Small Business Taxes.

ORGANIZATIONS:

     American Bar Association
     Mississippi Bar Association
     Magnolia Bar Association (Past President)
     Magnolia Bar Foundation (Past President)
     Mississippi Society of Certified Public Accountants
     American Institute of Certified Public Accountants
     Omega Psi Phi Fraternity
     Board of Directors of Metropolitan Jackson YMCA, Inc. (Former Treasurer &
     Executive Board Member)
     Board of Directors of Bethany Christian Services, Inc. (Former)
     Leadership Jackson - Class of 1996
     Fresh Start Ministries, Inc. - President




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